                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

INDIAN HARBOR INSURANCE COMPANY,§
                                §
               Plaintiff,       §
                                §
VS.                             §              CIVIL ACTION H-11-CV-1846
                                §
KB LONE STAR, INC. f/k/a LONE   §
STAR, L.P. f/k/a KAUFMAN & BROAD§
LONE STAR, L.P.,                §
                                §
                Defendant.      §

                               OPINION AND ORDER

       Pending before the Court in the above referenced declaratory

judgment action seeking a determination of Plaintiff Indian Harbor

Insurance      Company’s     rights,     status,   and     obligations    owed   to

Defendants under a liability insurance policy (“the policy”)1

issued to their subcontractor, Innovative Concrete Construction

(“Innovative”), is Defendants KB Home Lone Star, Inc., KB Home Lone

Star L.P., KB Lone Star, Inc., Lone Star, L.P., and Kaufman & Broad

Lone       Star,   L.P.’s   (collectively,       “KB’s”)    motion   to    dismiss

(instrument        #6)   pursuant   to   Federal   Rule     of   Civil   Procedure

12(b)(7)(failure to join a party under Rule 19) and for improper

forum shopping.

                               Standard of Review

       Federal Rule of Civil Procedure 12(b)(7) permits dismissal for

       1
           A copy of the policy is attached as Ex. 1A to #7.

                                         -1-
failure to join an indispensable party under Federal Rule of Civil

Procedure 19. HS Res., Inc. v. Wingate, 327 F.3d 432, 438 (5th Cir.

2003).     It “allows for both the joinder of parties who should be

present in order to have a ‘fair and complete resolution of the

dispute,’ and for the dismissal of lawsuits ‘that should not

proceed in the absence of parties that cannot be joined.’”                       Dore

Energy Corp. v. Prospective Inv. & Trading Co. Ltd., 570 F.3d 219,

230-31 (5th Cir. 2009), citing HS Res., Inc. v. Wingate, 327 F.3d

at 438.     Rule 19 sets out a two-step inquiry:               whether a party

should be added under the requirements of Rule 19(a) and whether

litigation can properly proceed without the absent party under the

requirements of Rule 19(b).         August v. Boyd Gaming Corp., 135 Fed.

Appx. 731, 732 (5th Cir. June 22, 2005).

     A “Rule 12(b)(7) motion will not be granted because of a vague

possibility that persons who are not parties may have an interest

in the action.     In general, dismissal is warranted only when the

defect is serious and cannot be cured.” 5A Charles Alan Wright, et

al., Federal Practice and Procedure § 1359 (2d ed. 1990). The

decision    whether   to    dismiss   a      case   for   failure    to       join   an

indispensable    party      first   requires        the   court,    in    a    highly

practical, “fact-based endeavor,” to determine whether the party

meets the requirements of Federal Rule of Civil Procedure 19(a).

Hood ex rel. Mississippi v. City of Memphis, Tenn., 570 F.3d 625,

628 (5th Cir. 2009).       Under Rule 19(a)(1), the party must be joined


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if it is subject to process, its joinder does not deprive the Court

of subject matter jurisdiction, and if

     (A) in the person’s absence, the court cannot accord
     complete relief among existing parties; or (B) that
     person claims an interest relating to the subject of the
     action and is so situated that disposing of the action in
     the person’s absence may:     (i) as a practical matter
     impair or impede the person’s ability to protect the
     interest; or (ii) leave an existing party subject to a
     substantial risk of incurring double, multiple, or
     otherwise inconsistent obligations because of the
     interest.

Hood, 570 F.3d at 628.

       If joinder would destroy the jurisdiction of the court, the

court must next decide under Rule 19(b) if the absent party is

indispensable.   Hood ex rel. Miss. v. City of Memphis, Tenn., 570

F.3d 625, 628-29 (5th Cir. 2009).     Rule 19(b) sets out the factors

for the court to consider in determining if it is feasible to join

that necessary party:

     (1) the extent to which a judgment rendered in the
     person’s absence might prejudice that person or the
     existing parties;
     (2) the extent to which any prejudice could be lessened
     or avoided by:
          (A) protective provisions in the judgment;
          (B) shaping the relief; or
          (C) other measures;
     (3) whether a judgment rendered in the person’s absence
     would be adequate; and
     (4) whether the plaintiff would have an adequate remedy
     if the action were dismissed for nonjoinder.

Id., quoting Rule 19(b).    If the absent party should be joined

under Rule 19(a), but suit cannot proceed without that party under

19(b) because it is indispensable, the case must be dismissed.


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August, 135 Fed. Appx. at 732. “The threat of multiple litigation

will not make a party indispensable, but the threat of inconsistent

obligations will.”   Cornhill Insurance PLC v. Valsamis, Inc., 106

F.3d 80, 84 (5th Cir.), cert denied, 522 U.S. 518 (1997).   If the

party is not indispensable, the case can proceed without joining an

additional party or parties.   Hood, 570 F.3d at 629.

     The proper inquiry in weighing these factors is “whether, in

equity and good conscience, the action should proceed among the

existing parties or should be dismissed.” Id. at 633, quoting Rule

19(b).

     For the joinder analysis, the Court takes the allegations in

the complaint as true.    Abbott v. BP Exploration and Production

Inc., 781 F. Supp. 2d 453, 460 (S.D. Tex. 2011); Bonilla v.

America’s Servicing Co., Civ. A. No. H-11-1974, 2011 WL 3882280, *3

(S.D. Tex. Sept. 2, 2011).   If evidence or additional briefing is

needed to permit the court to make an informed decision, but is not

presented, the court should not grant a motion to dismiss under

Rule 12(b)(7).   Turner v. Pavlicek, 2011 WL 4458757, *8-9 (S.D.

Tex. Sept. 22, 2011)(“Without evidence in the record, this court

cannot guess as to whether the parties may be required parties

under Rule 19(b).”), citing Pickle v. Int’l Oilfield Divers, Inc.,

791 F.2d 1237, 1242 (5th Cir. 1986), cert. denied, 479 U.S. 1059

(1987).   For the movant to show the nature of the unprotected

interests of the absent parties and the possibility of injury to


                                -4-
them or that the parties before the court will be disadvantaged by

the absence of the nonjoined parties, the movant may need to submit

“affidavits of persons having knowledge of these interests as well

as other relevant extra-pleading evidence.        The district judge is

not limited to the pleadings.” 5A Charles Alan Wright, Federal

Practice   §1359.    See   Power   Equities,    Inc.   v.   Atlas   Telecom

Services-USA, Inc., Civ. A. No. 3:06-CV-1892-G, 2007 WL 43843, *4

(N.D. Tex. Jan. 5 2007)(denying movant/defendant’s Rule 12(b)(7)

motion because defendant failed to name any person or entity that

should be joined to the action and “defendant has provided no

evidence that these unnamed parties could, or could not, be joined

in the suit and thus has provided no evidence upon which the court

can conduct the required Rule 19(b) analysis”).

       The party seeking the joinder bears the initial burden of

demonstrating that the person is necessary. Hood, 570 F.3d at 628;

Carder v. Continental Airlines, Inc., No. H-09-3173, 2009 WL

4342477, *4 (S.D. Tex. No. H-09-3173, 2009 WL 4342477, *4 (S.D.

Tex. Nov. 30, 2009)(The movant bears the burden of producing

evidence which shows the nature of the absent party’s interest and

that protection of that interest will be impaired or impeded

without joinder of that party).          After “‘an initial appraisal of

the facts indicates that a possibly necessary party is absent, the

burden of disputing this initial appraisal falls on the party who

opposes joinder.’”   Hood, 570 F.3d at 628, citing Pulitzer-Polster


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v. Pulitzer, 784 F.2d 1305, 1309 (5th Cir. 2006).

        Because a dismissal under Rule 12(b)(7) is not one on the

merits, it is without prejudice.         5A Wright & Miller § 1359.

                      KB’s Motion to Dismiss (#6)

        KB explains that Innovative performed work as a concrete

subcontractor for KB, a general contractor, at various times and on

different projects over multiple years.        Plaintiff recites that KB

has been sued in two state court lawsuits for construction defects

in a project called Mirasol Homes, in San Antonio, Texas:                    San

Antonio Housing Authority v. Magi Realty, et al., Bexar County

District Court, Case No. 2007-CI-05258, and Arias, et al. v. KB

Home, et al., Bexar County District Court, Case No. 2009-CI-08711

(collectively, “lawsuits”).       The lawsuits, inter alia, asserted

that KB and its subcontractors, including Innovative, negligently

built homes and delivered homes in substandard condition.              The two

suits were consolidated into one for trial.

        Indian Harbor had issued a liability insurance policy to

Innovative for a single-year term, October 18, 2000 to October 18,

2001.     The policy contained an ISO form 2026 1185 additional

insured endorsement naming all organizations “where required by

contract.”    Indian Harbor and KB entered into multiple contracts

with    Innovative   that   required     Innovative   to   name   KB    as   an

additional insured on all applicable policies, including from 2000-

2002.    KB asserts that it is entitled to a defense and to indemnity


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because it was an additional insured under the policy issued to

Innovative and because the subcontractor agreements between KB and

Innovative obligated Indian Harbor to provide coverage to KB as an

additional insured. Indian Harbor seeks a declaration that it owes

no duty to defend or indemnify KB for claims against it in the

underlying lawsuits.

        KB tendered its defense to the lawsuits to Indian Harbor on or

about August 28, 2007.         Indian Harbor had earlier confirmed its

participation in KB’s defense and offered to make a good faith

payment, but on April 23, 2010 KB received a letter from Indian

Harbor’s coverage counsel stating several defenses to coverage.

The parties have since had extensive communications with coverage

counsel to defeat Indian Harbor’s defenses to coverage.               Indian

Harbor has changed its position, seeks to withdraw coverage, and

seeks a declaration that it does not owe KB a defense and that nine

other       additional   insuring   carriers,   for   eleven   subcontractor

policies, included in KB’s defense allocation, should be joined in

this action since Indian Harbor will seek contribution from these

carriers if they lose their coverage position.           KB emphasizes that

some of these carriers have headquarters in Connecticut and their

joinder would defeat diversity jurisdiction.2


        2
       Indian Harbor is a North Dakota corporation with its
principal place of business in Connecticut. KB is a Texas
corporation doing business in Texas. Complaint (#1) at 1. KB’s
principal place of business is in Los Angeles, California. #7 at
14 and Ex. 1 thereto at 3.

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     KB also charges Indian Harbor with forum shopping in filing

this action in the Southern District of Texas (1) when all the

events giving rise to this and the underlying lawsuits occurred in

San Antonio (Bexar County) and thus the cause of action arose in

San Antonio, (2) KB’s office is in San Antonio, and (3) coverage is

largely dependent on allegations in these underlying lawsuits.   In

addition, a separate declaratory judgment action, Essex Ins. Co. v.

KB Home, Inc., Cause No. 2010-CI-13281, 408th Judicial District

Court, Bexar County, Texas, was filed on August 13, 2010 by a

different carrier, also involving a coverage dispute over the same

damages (the defense fees and costs sought by KB), and is currently

venued in the state District Court for Bexar County.     Thus Bexar

District Court is a more appropriate forum for this dispute,

insists KB.

     In sum, because (1) these carriers are potentially liable for

contribution to Indian Harbor, (2) some have headquarters in

Connecticut and would defeat jurisdiction in this federal court,

(3) the damages at issue here arose out of the Bexar County

lawsuits, (4) the cause of action arose in Bexar County, and (5)

coverage is derivative of these Bexar County lawsuits,    KB urges

that this matter should be heard in the Bexar County state district

court.   Thus this Court should dismiss the instant action.

     KB argues that since Indian Harbor seeks a declaration that it

does not owe KB a defense and will seek contribution from the non-


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joined carriers if it loses its coverage position, Indian Harbor

will ultimately require the carriers to be joined in this matter,

and without joinder, the Court cannot provide Indian Harbor with

“complete relief.”

     Moreover, if it is determined that Indian Harbor is not

obligated for the damages incurred in KB’s defense, then the non-

joined carriers would be prejudiced because they could likely be

liable for what otherwise would be Indian Harbor’s “share” of KB’s

defense fees and costs.

     If   it   is   determined   that     Indian   Harbor   owed   a   defense

obligation to KB, Indian Harbor’s argument that it owes less than

a whole defense because most of the costs incurred by KB were for

wholly independent and separate claims that are segregable3 and for

which there is no defense of coverage obligation, there might be

additional, perhaps duplicative, lawsuits because of diversity

problems.   KB insists that the financial and procedural prejudices



     3
       KB maintains that Texas law does not recognize the claim
that a carrier could owe less than a complete defense if a
defense is owed. Trinity Universal Ins. Co. v. Employers Mut.
Cas. Co., 592 F.3d 687, 695 (5th Cir. 2010)(recognizing “the
uniform holdings of Texas courts that if even a single claim in a
lawsuit potentially falls within an insurance policy’s coverage,
the insurer has a duty to provide a complete defense”); Indian
Harbor Ins. Co. v. Valley Forge Ins. Group, 535 F.3d 359, 363
(5th Cir. 2008)(“courts must ‘resolve all doubts regarding th
duty to defend in favor of the duty’”; under Texas law “‘[w]hen
an insurer has a duty to defend, even where ‘a claim falls
partially within and partially outside of a coverage period, the
insurer’s duty is to provide its insured with a complete
defense.’”

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to   Indian    Harbor    and    KB     cannot     be   relieved    by    protective

provisions.

        The absence of non-joined carriers could result in an “all or

nothing” end for Indian Harbor because it has no claims for

contribution from its co-carriers.

        Finally Indian Harbor has an adequate remedy in Bexar County

District Court, so dismissal of this suit would not prejudice

Indian Harbor.       Moreover judicial efficiency would be served by

such a dismissal.

        As for forum shopping, Texas courts have recognized that

important public policy considerations exist against it.                          See,

e.g., Reliant Energy, Inc. v. Gonzalez, 102 S.W. 3d 868, 875 (Tex.

App.–-Houston [1st Dist.] 2003), aff’d, 159 S.W. 3d 615 (Tex. 2005).

KB asserts that the only reason for Indian Harbor to choose this

forum     is   to   prejudice    KB.        The    issues    are   state       issues.

Plaintiff’s selection of the Southern District of Texas prejudices

KB substantively.

                         Plaintiff’s Response (#7)

        Plaintiff states that KB was the general contractor on a

construction project on which numerous tradesmen and subcontractors

worked    on   various   jobs        including    roofing,    drywall,     framing,

electrical, foundations, concrete, plumbing, HVAC, etc.                        The San

Antonio    suits    against     KB    and   the   subcontractors        were    for   a

multitude of alleged construction defects. The insurance contracts


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for the different subcontractors were different because they were

issued by different carriers, applied to different named insureds,

and    had   different     classifications,       coverage   years,     policy

provisions, and exclusions.         “Each unique policy has no effect on

or    retaliation   to   any   of   the   other   subcontractors   or   their

policies.” #7 at 2.         After the lawsuits were filed, KB began

demanding a defense and indemnity from a variety of insurance

carriers of the subcontractors, including from Indian Harbor.

       Plaintiff asserts that the Indian Harbor policy (#7, Ex. 1A)

does not cover the claims asserted against KB in the San Antonio

lawsuits because no resulting damage occurred nor was alleged by

pleadings in the San Antonio lawsuits to have occurred during

Indian Harbor’s one policy year and because any otherwise covered

claim is excluded.       Therefore Indian Harbor denied KB’s demand for

a defense and for indemnity and filed the instant declaratory

judgment action seeking a judicial determination that it had no

overage obligations for any claims asserted against KB in the

lawsuits with respect to the Indian Harbor policy.

       Plaintiff contends that KB’s motion to dismiss on the grounds

that all of the other subcontractors and carriers are necessary and

indispensable parties to this coverage dispute should be denied

because (1) KB failed to meet its burden of proof and all necessary

and indispensable parties have already been named in this action

and (2) because KB’s request to dismiss this suit for forum


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shopping is not properly before the Court procedurally and lacks

merit substantively.

     KB fails to meet its burden of proof because it fails even to

identify or name the purported indispensable parties, no less

present any evidence in support of its motion.         Furthermore case

law clearly establishes that the other subcontractors’ insurers are

not required parties to this action and KB fails to establish any

of the requirements of Rule 19.    KB also conclusorily asserts that

several of the carriers have headquarters in Connecticut and their

joinder would defeat diversity jurisdiction.        KB never identifies

who these carriers are or which would, if joined, defeat diversity.

This failure makes it impossible for the Court to evaluate the

standards of joinder of required parties under Rule 19.        Nor does

KB satisfy its burden of proof under Rule 12(b)(7) to produce

evidence that shows the nature of each absent party’s interest and

that protection of that interest will be impaired or impeded

without joinder of the absent party.        Carder, 2009 WL 4242477, at

*4, quoting Rutherford Oil, 2009 WL 135`784, at *2.             Without

evidence, the Court cannot conduct the joinder analysis.          Power

Equities, 2007 WL 43843, at *4.          KB has offered only conclusory

assertions, so the motion should be denied.

     Plaintiff maintains that no other parties are required.       This

is a simple dispute over coverage between one insurer and its

insured to determine obligations under an insurance contract that


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covered only one year. The policy provisions of any other carriers

have no effect on the contractual obligations between Indian Harbor

and KB.    Each of the other insurers’ policies from which KB seeks

coverage involves a different subcontractor from a different trade

with   a   different     policy   period     and   different   provisions     and

exclusions.       #7, Exhibit 1 (Declaration of Gary N. Schumann,

attorney of record for Indian Harbor).             The allegations about each

subcontractor     are    different,   the     work    performed   by   each    is

different, and the alleged defect and the extent of any alleged

defect to each subcontractor is different. Id. KB seeks dismissal

of this suit on the grounds that all of the other unnamed and

unidentified insurers should be joined here when they have no

relation to each other or to the coverage dispute between KB and

Indian Harbor.     Indian Harbor cites Cornhill Ins. PLC v. Valsamis,

Inc.,106 F.3d 80 (1997), cert. denied, 522 U.S. 818 (1997), in

which the Fifth Circuit affirmed the district court’s denial of a

motion to dismiss for failure to join as indispensable where the

district court’s decision “rested solely on contractual language in

the    policies    and    those   parties      with    an   interest   in     the

interpretation of that language were present in this action.”                 Id.

at 84.     Indian Harbor insists that here, as in Cornhill, the

policy’s language deals only with obligations between a single

insured, KB, and a single insurer, Indian Harbor, and has no effect

on the other unidentified subcontractors’ insurers that KB seeks to


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join.     Indian Harbor has not, either in this lawsuit or at any

other time, asserted claims against any party except KB nor claims

or causes of action for contribution against any other insurers.

Indeed it characterizes KB’s assertions as “pure speculation,” “a

desperate attempt to fashion a colorable argument for dismissal

when none exists.      Even if Indian Harbor should decide in the

future to seek contribution from other insurers, a separate action

to   determine   contribution   and/or   other   insurance   obligations

between carriers is proper.     Thus complete relief can be accorded

here without joinder of any other parties.

        Indian Harbor maintains that KB has failed to satisfy the

requirements of Rule 19(a)(1)(B).        First, it insists that this

matter can be resolved without joinder because it will not affect

the interest of any absent party because no absent party has

claimed an interest in this litigation or attempted to intervene,

nor has KB attempted to implead any diverse party.       Joinder under

Rule 19(a)(1)(B) is contingent upon the absent party actually

claiming a legally protected interest related to the litigation.

Canal Indemnity Co. v. Adair Homes, Inc., No. CO9-5561 FDB, 2010 WL

55871, *3 (W.D. Wash. Jan. 4, 2010)(district court did not err in

holding joinder was unnecessary where absent insurers were likely

aware of coverage action but chose not to assert their interest).

        Indian Harbor calls “nonsensical” KB’s argument that the other

subcontractors’ insurers     have an interest in the dispute because


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any judgment in Indian Harbor’s favor would leave the other

insurers liable for Indian Harbor’s “share.”   If it is determined

that Indian Harbor is not liable for coverage for KB under its

policy, then it has no share of KB’s defense fees and costs; the

other carriers cannot be responsible for paying Indian Harbor’s

“share” if Indian Harbor’s policy does not apply.         The core

question of whether there is coverage under Indian Harbor’s policy

has no effect on the obligations for the carriers for other

subcontractors.

     The Court need not perform the analysis under Rule 19(b)

because KB failed to meet its burden of proof to establish the

existence of a required party under Rule 19(a) and because the

other subcontractors’ insurers are not required parties to this

declaratory judgment action.    Even if they were required parties,

KB fails to meet its burden under Rule 19(b).     Not only are the

other insurers not named, but KB fails to support its conclusory

statement that some of them are Connecticut residents that would

destroy diversity.   Second, none of the factors under Rule 19(b)

favor KB’s motion to dismiss.     As noted, its argument that the

nonjoined parties would be prejudiced by a judgment in Indian

Harbor’s favor because they would be liable for Indian Harbor’s

share of defense fees and costs is absurd: any decision that there

is no coverage for KB under the Indian Harbor policy means that

Indian Harbor has no obligation to KB and owes no share of its


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defense fees and costs as a matter of law. As for Rule 19(b)(2), KB

fails to identify any alleged financial and procedural prejudices.

Indian Harbor has shown that the other insurers are not required

parties to this suit and thus KB suffers no prejudice by their

absence.   As for Rule 19(b)(3) that a judgment in their absence is

an “all-or-nothing” scenario for Indian Harbor, Indian Harbor

points to the case law showing that claims for contribution or

payment under other insurance provisions need not be raised in a

declaratory judgment action, but are properly pursued in separate

actions between insurers.         KB and Indian Harbor are the only

parties necessary to render a judgment about the interpretation of

the insurance contract between the two of them. Finally, regarding

Rule 19(b)(4), Indian Harbor would not have an adequate remedy in

Bexar County District Court if this action were dismissed because

the   Bexar   County   District   Court    has   no   connection   to   the

contractual dispute between KB and Indian Harbor.

      KB’s plea for judicial efficiency fails because KB falsely

asserts that Indian Harbor is or will be asserting a claim against

other insurers for contribution.          Not only is Indian Harbor not

seeking contribution, but if it chooses to do so in the future, the

case law shows that such a dispute is properly decided in a

separate action from the insurer’s declaratory judgment action

against its insured.

      Indian Harbor insists that its forum selection is proper.         It


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points out that KB does not seek a transfer, removal or dismissal

on the basis of forum nonconveniens, nor has it filed a motion to

object to venue or jurisdiction.         KB does not claim that the

jurisdictional and venue facts pled by Indian Harbor are incorrect.

Instead by filing its motion to dismiss solely under Rule 12(b)(7),

under Federal Rule of Civil Procedure 12(h) KB has waived any

objection to venue.   The only other venue suggested by KB is the

state court in Bexar County, where the separate coverage action

involving a different insurance company, a different policy, and a

different policy period is pending and which has no relationship to

Indian Harbor or its insured, Innovative.         No act or omission

between KB and Indian Harbor occurred in San Antonio and there is

no nexus to San Antonio in this coverage dispute. Indian Harbor as

plaintiff has a right to choose its forum if the venue is proper.

                         Court’s Decision

     After reviewing the parties’ briefs and the applicable law,

the Court concurs with Indian Harbor that KB has not met its burden

of proof.   As noted, a “Rule 12(b)(7) motion will not be granted

because of a vague possibility that persons who are not parties may

have an interest in the action.”       5A Charles Alan Wright, et al.,

Federal Practice and Procedure § 1359. Indian Harbor is correct in

pointing out that KB fails to name the purportedly necessary-party

carriers of the subcontractors, no less to demonstrate how their

policies would affect contractual obligations between Indian Harbor


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and   KB.4   KB   also    fails   to   identify    the    vaguely   referenced

Connecticut-resident       companies     that   would    purportedly   destroy

diversity if joined in this action, no less explain why their

joinder is required.       Indeed, KB fails to allege with any factual

specificity that any absent party claims an interest in this

litigation that will be impaired or impeded without joinder.               Nor

does KB indicate how the Indian Harbor policy in dispute covers any

claim against KB that resulted in damages during the policy period,

a necessity if Indian Harbor is to be found liable.                 KB has not

submitted any evidence to support its contentions.             This Court is

not permitted to guess whether the subcontractors’ carriers are

necessary parties here.

      Moreover, although KB argues that these carriers should be

joined because Indian Harbor might seek contribution from them,

Indian Harbor is correct that it can do so in a separate suit if it

is found liable.         See, e.g., Janney Montgomery Scott, Inc. v.

Shepard Niles, Inc., 11 F.3d 399, 412 (3d Cir. 1993)(Although

Federal Rule of Civil Procedure 14 “permits a party who claims a

right of contribution or indemnity from third persons to protect

itself from potentially inconsistent verdicts by impleading the

absent party . . . , it is not required to do so; and if it does


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      “In the context of multiple concurrent insurance,
contribution is only appropriate where the policies insure the
same entities, the same interests in the same property, and the
same risks.” 15 Couch on Insurance § 218:3 (3d ed., database
updated Nov. 2011).

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not, its right to bring a separate action for contribution or

indemnity is unaffected.”).     “A defendant’s right to contribution

or indemnity from an absent non-diverse party does not render that

absentee indispensable pursuant to Rule 19.”              Bank of America

National Trust and Savings Assoc. v. Hotel Rittenhouse Associates,

844 F.2d 1050, 1054 (3d Cir. 1988); in accord, Pasco Int’l (London)

Ltd.    v.   Stenograph   Corp.,    637     F.2d   496,    503   (7th   Cir.

1980)(“[P]otential    indemnitors         have   never    been   considered

indispensable parties, or even parties whose joinder is required if

feasible.”).   Complete relief can be accorded here without joinder

of the other carriers.

       Furthermore, in addition to Indian Harbor’s arguments that

there is no nexus between its insurance policy and San Antonio,

with respect to both the joinder issue and the forum shopping issue

the parties’ later submissions indicate that the San Antonio

lawsuits have settled.

       Finally the improper forum shopping charge appears to be

specious in light of KB’s failure to file a motion to object to

venue or jurisdiction.    Indian Harbor, moreover, has pleaded facts

showing that venue is proper in this district.

       Accordingly, the Court

       ORDERS that KB’s motion to dismiss (#6) pursuant to Federal

Rule of Civil Procedure 12(b)(7)(failure to join a party under Rule




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19) and for improper forum shopping is DENIED.

     SIGNED at Houston, Texas, this   27th   day of   March , 2012.



                        ___________________________
                                MELINDA HARMON
                        UNITED STATES DISTRICT JUDGE




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